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 5
                                 UNITED STATES DISTRICT COURT
 6                              WESTERN DISTRICT OF WASHINGTON
                                          AT TACOMA
 7
       STATE OF WASHINGTON,                              C17-5806 RJB
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                                Plaintiff,
 9
                     v.                                  ORDER REGARDING STATE OF
10                                                       WASHINGTON’S MOTION FOR
       THE GEO GROUP, INC., a Florida                    CLARIFICATION
11     corporation,

12                              Defendant.

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14             This matter comes before the Court on the above-referenced motion (Dkt. 576). The

15   Court is familiar with the records and files herein and all documents filed in support of and in

16   opposition to the motion. The motion should be granted in part and denied in part, as stated

17   herein.

18             Plaintiff State of Washington moves to exclude internal Department of Labor and

19   Industries emails, marked for identification by Defendant, as clarification to the Court’s ruling

20   on motions in limine (Dkt. 569). The Court has carefully examined the proposed exhibits and

21   finds that they are not relevant and that to introduce them would be a waste of time.

22   Accordingly, exhibits marked as A-139, A-305, A-322 though A-326, and A-332 through A-334

23   will be excluded from evidence at trial.

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     ORDER REGARDING STATE OF WASHINGTON’S MOTION FOR CLARIFICATION - 1
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 1          Plaintiff also moves in clarification of the Court’s ruling on motions in limine (Dkt. 569),

 2   that certain Department of Labor and Industries witnesses, identified by Defendant as individuals

 3   they will or may call at trial, should be excluded because they have no relevant evidence to offer.

 4   The Court has reviewed their proposed evidence in the Pretrial Order (Dkt. 579) and finds that

 5   the witnesses Fellin, Buchanan, David Johnson, and Wonhoff have no reasonable, relevant

 6   evidence to offer and should be excluded from testifying as witnesses at trial. The witnesses

 7   Grice and Melody may have some admissible evidence to offer at trial, and they should not now

 8   be excluded as witnesses.

 9          To the foregoing extent, the State of Washington’s Motion for Clarification (Dkt. 576) is

10   GRANTED IN PART and DENIED IN PART.

11          IT IS SO ORDERED.

12          The Clerk is directed to send uncertified copies of this Order to all counsel of record and

13   to any party appearing pro se at said party’s last known address.

14          Dated this 8th day of October, 2021.

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16                                         A
                                           ROBERT J. BRYAN
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                                           United States District Judge
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     ORDER REGARDING STATE OF WASHINGTON’S MOTION FOR CLARIFICATION - 2
